Case 2:04-cr-20388-SH|\/| Document 80 Filed 07/14/05 Page 1 of 2 Page|D 106

HUH)BY
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE OSJuL|h AH|'

WESTERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20388~Ma

VS.

HAROLD L. YANCY,
JERRY B. RODGERS,

Defendants.

-_._z--._/-._/V\../-._r\_/'-_/V-._/

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this ngz; day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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ENNESSEE

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
Memphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

